     Case 1:14-cr-00226-DAD-BAM Document 184 Filed 05/06/19 Page 1 of 3


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 8                                      UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           No. 1:14-CR-00226-DAD-BAM

12                         Plaintiff,

13            v.                                          FINAL ORDER OF FORFEITURE

14    LEONOR SARABIA-RAMIREZ,

15                         Defendant.

16

17          WHEREAS, on May 23, 2018, this Court entered a Preliminary Order of Forfeiture

18   pursuant to the provisions of 21 U.S.C. § 853(a), based upon the forfeiture allegation in the

19   indictment, the Bill of Particulars for Forfeiture of Property filed on February 5, 2016, and the

20   stipulation and application for preliminary order of forfeiture and publication thereof forfeiting to

21   the United States all right, title, and interest of defendant Leonor Sarabia-Ramirez in the

22   following property:

23                  a.       approximately $88,700.00 in U.S. Currency.

24          AND WHEREAS, beginning on June 2, 2018, for at least 30 consecutive days, the United

25   States published notice of the Court’s Order of Forfeiture on the official internet government

26   forfeiture site www.forfeiture.gov. Said published notice advised all third parties of their right to

27   petition the Court within sixty (60) days from the first day of publication of the notice for a

28   hearing to adjudicate the validity of their alleged legal interest in the forfeited property.
     FINAL ORDER OF FORFEITURE                           1
     Case 1:14-cr-00226-DAD-BAM Document 184 Filed 05/06/19 Page 2 of 3


 1          AND WHEREAS, on June 13, 2018, the United States sent direct written notice to Pete

 2   Valentine Herrera and Lupe Herrera at their last known address. Mr. Herrera signed the certified

 3   mail receipt accepting the direct written notice on June 16, 2018. On June 13, 2018, the United

 4   States also sent direct written notice to Steven A. Geringer, the attorney who filed a claim with

 5   the Drug Enforcement Administration on behalf of Pete Herrera and Lupe Herrera in the

 6   administrative forfeiture action. Mr. Geringer’s office signed the certified mail receipt accepting

 7   the direct written notice on June 18, 2018.

 8          AND WHEREAS, on July 11, 2018, Pete V. Herrera and Lupe Herrera filed a pro se

 9   petition for ancillary hearing.

10          AND WHEREAS, on October 29, 2018, the United States moved to dismiss Pete Herrera

11   and Lupe Herrera’s petition on the grounds that the petition failed to meet the pleading

12   requirements of 21 U.S.C. § 853(n). The United States motion went unopposed.

13          AND WHEREAS, on April 4, 2019, the Court granted the United States’ motion to

14   dismiss Pete Herrera and Lupe Herrera’s petition with leave to amend their petition. The Court

15   ordered the amended petition to be filed within twenty-one (21) days of entry of the order.

16   Accordingly, the filing deadline for the amended petition was April 25, 2019.

17          AND WHEREAS, the Court has been informed that no petition has been received by or

18   on behalf Pete Herrera and Lupe Herrera.

19          AND WHEREAS, the Court has been advised that no other third party has filed a claim to

20   the subject property and the time for any person or entity to file a claim has expired.
21          Accordingly, it is hereby ORDERED and ADJUDGED:

22          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of

23   America all right, title, and interest in the approximately $88,700.00 in U.S. Currency pursuant to

24   21 U.S.C. § 853(a), to be disposed of according to law, including all right, title, and interest of

25   defendant Leonor Sarabia-Ramirez, Pete Herrera, and Lupe Herrera.

26          2.      All right, title, and interest in the approximately $88,700.00 in U.S. Currency shall
27   vest solely in the name of the United States of America.

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     Case 1:14-cr-00226-DAD-BAM Document 184 Filed 05/06/19 Page 3 of 3


 1          3.      The United States Marshals Service shall maintain custody of and control over the

 2   subject property until it is disposed of according to law.

 3   IT IS SO ORDERED.
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        Dated:     May 6, 2019
 5                                                      UNITED STATES DISTRICT JUDGE

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